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 1 KING, HOLMES, PATERNO & SORIANO, LLP
   HOWARD E. KING, ESQ., STATE BAR NO. 77012
 2 STEPHEN D. ROTHSCHILD, ESQ., STATE BAR NO. 132514
   SROTHSCHILD@KHPSLAW.COM
 3 1900 AVENUE OF THE STARS, TWENTY-FIFTH FLOOR
   LOS ANGELES, CALIFORNIA 90067-4506
 4 TELEPHONE: (310) 282-8989
   FACSIMILE: (310) 282-8903
 5
   Attorneys for Howard M. Ehrenberg,
 6 Chapter 7 Trustee
 7
 8                                 UNITED STATES DISTRICT COURT
 9                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 HOWARD M. EHRENBERG, Chapter                        CASE NO.
   7 Trustee,
12                                                     COMPLAINT for
              Plaintiff,
13                                                     1)      Copyright Infringement
         vs.                                           2)      Copyright Infringement
14                                                     3)      Declaration of Co-Ownership
   The Walt Disney Company,
15
              Defendant.
16
                                                       JURY TRIAL DEMANDED
17
18             Plaintiff Howard M. Ehrenberg, Chapter 7 Trustee (“plaintiff”) hereby alleges
19 as follows:
20             1.         This case is to remedy defendant The Walt Disney Company’s
21 (“Disney”) unapologetic misappropriation of a veteran television writer’s award-
22 winning original contributions to one of its most treasured animated properties, the
23 Muppet Babies television show, and of valuable new ideas he submitted for
24 Disney’s Muppet Babies reboot, which first aired in March 2018.
25             2.         Scott is among animation’s most acclaimed screenwriters, with decades
26 of experience developing, writing and story-editing children’s shows, primarily for
27 network TV, including not only Muppet Babies, but also Super Friends, Spider-
28 Man, Teenage Mutant Ninja Turtles, Dungeons & Dragons, Pac Man, Hulk

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                1 Hogan’s Rock ‘n’ Wrestling, Sonic the Hedgehog, Zorro, James Bond Jr., Dragon
                2 Tales, India’s Little Krishna, Shaktimaan, and many others. He also is the author of
                3 a widely respected text on animation writing, among other accomplishments.
                4             3.         Recognizing Scott’s talent, Disney’s predecessor-in-interest, Marvel
                5 Productions, Ltd. (“Marvel”), with Jim Henson’s participation and approval, asked
                6 Scott to create the original Muppet Babies production bible in the early 1980s. The
                7 production bible created and defined the foundational elements of the show. Since
                8 Scott was not an employee of Marvel or Henson and never agreed to convey his
                9 copyright in the bible to either of them, Scott held the copyright in the bible
            10 immediately upon its creation.
            11                4.         After the bible, Scott wrote the scripts for all but four of the episodes
            12 produced during the first three years of Muppet Babies’ original run, his copyrights
            13 in which he also never conveyed to Marvel or Henson. Scott received three Emmy
            14 awards and a Humanitas Prize for his scripts. When Scott left the Series in 1986 to
            15 pursue other opportunities, Jim Henson wrote to him, “Thank you for all you’ve
            16 done for MUPPET BABIES. I think it’s a terrific series – because of you.”
            17                5.         Disney’s Muppet Baby reboot is derived from and saturated with the
            18 elements from Scott’s bible and scripts, and would not exist in anything like its
            19 present form without Scott’s contributions. Yet, Disney continues to refuse to give
            20 Scott any credit for its wholesale use of his material and to compensate him fairly,
            21 or at all, for that use.
            22                6.         Disney has released three seasons of new Muppet Babies episodes, for
            23 a total of 71 episodes. Disney has incorporated and continues to incorporate the
            24 elements in Scott’s bible and scripts (as well as ideas he presented to Disney
            25 executives in 2016), plagiarizing Scott’s dialogue, plot points, images, gags, cultural
            26 references, character attributes, settings, story arcs, themes, and many other
            27 elements created at Jim Henson and Marvel’s invitation and request. Yet, Disney
            28 continues to refuse to acknowledge Scott’s essential, protected contributions and to
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                1 compensate Scott for its unauthorized, wholesale exploitation of them.
                2                                             THE PARTIES
                3             7.         Plaintiff is the Chapter 7 Trustee of the bankruptcy estate (the
                4 “Bankruptcy Estate”) of Jeffrey Alan Scott (“Scott”) and Sonya Scott in In re:
                5 Jeffrey Alan Scott and Sonya Scott, United States Bankruptcy Court for the Central
                6 District of California, Case No. 2:95-bk-11691-BR.
                7             8.         Disney is and at all times material herein has been a corporation
                8 organized and existing under the laws of the State of Delaware with its principal
                9 place of business in the County of Los Angeles, California.
            10                                        JURISDICTION AND VENUE
            11                9.         This action arises under the United States Copyright Act of 1976. The
            12 complaint states a claim for infringement of federally registered copyrights under
            13 the Copyright Act (17 U.S.C. §§ 106 and 501).
            14                10.        This Court has subject matter jurisdiction over this action pursuant to
            15 28 U.S.C. §§ 1331 and 1338.
            16                11.        This Court has personal jurisdiction over Disney because Disney’s
            17 principal place of business is in California and in this district, and because
            18 committed one or more of the infringing acts complained of herein in California and
            19 in this district.
            20                12.        Venue in this Court is proper at least under the provisions of 28 U.S.C.
            21 § 1391.
            22                                                     FACTS
            23                13.        In or about October 1983, with the Jim Henson Company and Henson’s
            24 (collectively, “Henson”) participation, knowledge, consent and approval, Marvel
            25 invited Scott to create a series production bible and write scripts for a new Muppet-
            26 based television show, depicting the Muppet characters as youngsters. Neither
            27 Henson nor Marvel had a written agreement with Scott, and Scott was not an
            28 employee of Marvel or Henson, which co-produced the show with Marvel.
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                1             14.        Scott created and wrote the Muppet Babies production bible and wrote
                2 all but four of the episodes produced during the show’s first three seasons, and
                3 chose not to write more episodes. A list of the episodes that Scott wrote, along with
                4 the registration numbers of his copyrights in them, is attached hereto as Exhibit 1.
                5             15.        Scott’s production bible, registered with the United States Copyright
                6 Office in his name as Copyright Reg. No. TXu 2-163-328, significantly developed,
                7 expanded on and created new attributes for the child versions of the characters, and
                8 created the mix of entertainment and education, and the blueprint for its stories. The
                9 main characters that Scott significantly developed and expanded on were “kid”
            10 versions of the Muppets. Among other things, he refined and added to their
            11 character traits and their relationships with each other, and created original running
            12 gags associated with each of them. At Henson’s suggestion, Scott also created an
            13 entirely new character, Nanny, including her distinctive colored socks, which were
            14 and remain integral to the series. Scott’s bible also created show structures
            15 incorporating fantasies and adventures that spring from the characters’ imaginations
            16 and start in the nursery, often taking them to new environments in their
            17 imaginations; the use of live action footage and photographs; how the show uses
            18 music, and many other elements.
            19                16.        Scott first discovered that Disney had begun interpolating many, if not
            20 most, of the elements of his bible when he saw episodes of the Muppet Babies
            21 reboot, which first aired on or about March 23, 2018. Thereafter, as new episodes
            22 aired, he discovered that Disney was interpolating even more elements of his bible,
            23 and elements of the scripts that he wrote, in those episodes, without any
            24 compensation or credit to him.
            25                17.        On January 31, 2020, Scott and Disney entered into a tolling agreement
            26 tolling all statutes of limitations applicable to Scott’s claims herein, which they later
            27 extended. The tolling agreement was terminated on September 4, 2020.
            28                18.        On October 22, 2020, Scott filed the action entitled Jeffrey Scott v. The
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                1 Walt Disney Company in the United States District Court for the Central District of
                2 California, Case No. 2:20-cv-09709 (the “Prior Action”) alleging, inter alia, that
                3 Disney had engaged in the willful copyright infringement also alleged herein.
                4             19.        On March 20, 2021, the court dismissed the Prior Action without
                5 prejudice, holding that Scott’s claims were an asset of the bankruptcy estate in a
                6 bankruptcy that Scott filed in 2003, In re: Jeffrey Scott and Sonya Scott, United
                7 States Bankruptcy Court for the Central District of California Case No. 1:03-bk-
                8 17981 (the “2003 Bankruptcy”).
                9             20.        On April 21, 2021, Scott filed a motion to reopen the 2003 Bankruptcy
            10 to amend his schedules to include the claims alleged herein.
            11                21.        On April 23, 2021, Scott filed a motion to reopen the 1995 Bankruptcy
            12 to amend his schedules to include the claims alleged herein.
            13                22.        On May 11, 2021, the court in the 2003 Bankruptcy granted Scott’s
            14 motion to reopen that case.
            15                23.        On June 2, 2021, the court in the 1995 Bankruptcy granted Scott’s
            16 motion to reopen that case.
            17                24.        On June 5, 2021, Scott filed an amended Schedule B in the 1995
            18 Bankruptcy listing his claims herein as an asset of the Bankruptcy Estate.
            19                25.        On October 1, 2021, plaintiff filed an application in the 1995
            20 Bankruptcy to retain King, Holmes, Paterno & Soriano, LLP, to represent him in
            21 prosecuting the claims alleged herein. The court in the 1995 Bankruptcy granted
            22 that motion on November 5, 2021.
            23                26.        On January 31, 2022, an Order of Discharge was entered in the 2003
            24 Bankruptcy.
            25                27.        As it has aired new episodes of the Muppet Babies reboot, Disney has
            26 continued to interpolate Scott’s bible, the episodes he wrote, and the ideas he
            27 submitted in 2016, and to fail and refuse to compensate him and to accord him the
            28 “Developed for Television by” credit that Marvel promised him.
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                1                                      FIRST CLAIM FOR RELIEF
                2                                       (For Copyright Infringement)
                3             28.        Plaintiff incorporates the foregoing paragraphs by reference, as though
                4 fully set forth.
                5             29.        17 U.S.C. § 501 prohibits, inter alia, anyone from copying original
                6 expression from a copyrighted work without the owner’s permission.
                7             30.        Plaintiff is the sole owner of the copyright in the bible that is fixed in a
                8 tangible medium of expression.
                9             31.        From and after March 23, 2018, and continuing to the present, Disney
            10 has infringed plaintiff’s exclusive rights under the Copyright Act, 17 U.S.C. §§ 106
            11 and 501, by interpolating the bible into the Muppet Babies reboot and producing,
            12 reproducing, distributing, and publicly displaying the reboot, without Scott’s or
            13 plaintiff’s authorization or consent.
            14                32.        Disney’s conduct has damaged and will continue to damage plaintiff.
            15 Plaintiff’s damages include, but are not limited to, the loss of the value of the bible’s
            16 use in the reboot, Disney’s profits from its unauthorized use of the bible, and the
            17 value of Disney’s failure and refusal to accord Scott credit for its use of his original
            18 work.
            19                33.        As a result of its conduct as alleged above, Disney has been unjustly
            20 enriched and has wrongfully profited.
            21                34.        Plaintiff is entitled to actual damages and any profits of Disney that are
            22 attributable to the infringement and not taken into account in computing actual
            23 damages, in an amount to be proved at trial and all other relief allowed under the
            24 Copyright Act, all in an amount to be proved at trial herein.
            25                                       SECOND CLAIM FOR RELIEF
            26                                          (For Copyright Infringement)
            27                35.        Plaintiff incorporates the foregoing paragraphs by reference, as though
            28 fully set forth.
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                1             36.        Plaintiff is the sole owner of the copyrights in the scripts, which are
                2 fixed in a tangible medium of expression.
                3             37.        From and after March 23, 2018, and continuing to the present, Disney
                4 has infringed plaintiff’s exclusive rights under the Copyright Act, 17 U.S.C. §§ 106
                5 and 501, by interpolating Scott’s scripts into the Muppet Babies reboot and
                6 producing, reproducing, distributing, and publicly displaying the reboot, without
                7 plaintiff’s or Scott’s authorization or consent.
                8             38.        Disney’s conduct has damaged and will continue to damage plaintiff.
                9 Plaintiff’s damages include, but are not limited to, the loss of the value of the
            10 scripts’ use in the reboot, Disney’s profits from its unauthorized use of the scripts,
            11 and the value of Disney’s failure and refusal to accord Scott credit for its use of his
            12 original work.
            13                39.        As a result of its conduct as alleged above, Disney has been unjustly
            14 enriched and has wrongfully profited.
            15                40.        Plaintiff is entitled to actual damages and any profits of Disney that are
            16 attributable to the infringements and not taken into account in computing actual
            17 damages, in an amount to be proved at trial and all other relief allowed under the
            18 Copyright Act, all in an amount to be proved at trial herein.
            19                                        THIRD CLAIM FOR RELIEF
            20                                       (For Declaration of Co-Ownership)
            21                41.        Plaintiff incorporates the foregoing paragraphs by reference, as though
            22 fully set forth.
            23                42.        Scott had the exclusive right to produce derivative works of his bible.
            24                43.        The reboot is a derivative work of Scott’s bible, using the bible as a
            25 foundation and building upon it.
            26                44.        Accordingly, plaintiff seeks a declaration that it is a co-owner of the
            27 reboot to the extent it incorporates Scott’s bible.
            28
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                1                                    FOURTH CLAIM FOR RELIEF
                2                                    (For Declaration of Co-Ownership)
                3             45.        Plaintiff incorporates the foregoing paragraphs by reference, as though
                4 fully set forth.
                5             46.        Scott had the exclusive right to produce derivative works of his Muppet
                6 Babies scripts.
                7             47.        The reboot is a derivative work of Scott’s scripts, using the scripts as a
                8 foundation and building upon them.
                9             48.        Accordingly, plaintiff seeks a declaration that it is a co-owner of the
            10 reboot to the extent it incorporates Scott’s scripts.
            11                           WHEREFORE, plaintiff prays for judgment, as follows:
            12                1.         For damages according to proof, plus interest at the legal rate;
            13                2.         For an accounting of Disney’s revenues and profits from the Muppet
            14 Babies reboot;
            15                3.         For a declaration that plaintiff co-owns the Muppet Babies reboot;
            16                4.         For plaintiff’s costs incurred herein; and
            17                5.         For such other and further relief as the Court deems just and equitable.
            18 DATED:                    February 18, 2022       KING, HOLMES, PATERNO &
                                                                 SORIANO, LLP
            19
            20
            21                                                   By:        /s/ Stephen D. Rothschild
            22                                                                     HOWARD E. KING
            23                                                                  STEPHEN D. ROTHSCHILD
                                                                 Attorneys for Plaintiff Howard Ehrenberg,
            24                                                   Chapter 7 Trustee
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                1                                   REQUEST FOR JURY TRIAL
                2             Plaintiff respectfully requests a trial by jury for the claims asserted herein.
                3
                4
                    DATED:               February 18, 2022   KING, HOLMES, PATERNO &
                5                                            SORIANO, LLP
                6
                7
                8                                            By:        /s/ Stephen D. Rothschild
                                                                               HOWARD E. KING
                9                                                           STEPHEN D. ROTHSCHILD
            10                                               Attorneys for Plaintiff Howard Ehrenberg,
                                                             Chapter 7 Trustee
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